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                               NOTICE

Effective 5/01/06, the procedure for filing a new civil case has changed.
Refer to Section 4.0, page 4.1.

The Clerk’s Office will open the new civil case by entering the case
number, judge assignment(s), party names (plaintiff/defendant) and
attorney(s) of record.

              **Case number MUST be placed on all pleadings
                 before electronically filing documents.**

The Clerk’s Office notifies the attorney that the case has been opened.

Documents are to be electronically filed by the attorney. Documents are
to be electronically filed in this order:

Complaint with civil cover sheet as an attachment to the entry. The
complaint event is located under the heading of “Complaints and Other
Initiating Documents”.

OR

Notice of Removal with Complaint, Service of Process, Pleadings and
Orders originally filed in state court and civil cover sheet as attachments
to the entry (See 28§1446 and Rule 7(a) of FRCivP). The Notice of
Removal event is located under the heading of “Notices”.

If a summons was submitted to the Clerk’s Office for issuance, once the
complaint has been electronically filed, the Clerk’s Office will issue the
summons and return to the requesting attorney. The “summons issued”
event will be electronically filed by the Clerk’s Office.

(May, 2006)
